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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA                   )
                                            )
 vs.                                        )   CRIMINAL NO. 15-00088-CG
                                            )
 XIULU RUAN,                                )
                                            )
       Defendant.                           )

                   PRELIMINARY ORDER OF FORFEITURE

       WHEREAS a jury verdict was returned on February 23, 2017, convicting

 defendant RUAN of Counts One through Four, Eight, Nine, Eleven, Twelve, Fifteen

 through Seventeen, and Nineteen through Twenty-Two of the Second Superseding

 Indictment; and

       WHEREAS a written stipulation and agreement to forfeit was filed with this

 Court on February 23, 2017, which was signed by defendant RUAN and his counsel,

 Dennis Knizley, Esq., in which defendant RUAN agreed to knowingly and

 voluntarily forfeit the below-listed assets to the United States, and agreed that

 United States had established the requisite connection between those amounts,

 those assets and the violations charged in Counts One through Four, Eight, Nine,

 Eleven, Twelve, Fifteen through Seventeen, and Nineteen through Twenty-Two of

 the Second Superseding Indictment:

       The bank and financial accounts associated with PPSA and C&R Pharmacy:

       1.     $398,953.07, more or less from, Wells Fargo account
              ending in x6971, in the name of PPSA;
       2.     $36,369.45, more or less, from Wells Fargo account ending
              x1719, in the name of C&R, L.L.C.;
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       3.    $900,712.98, more or less, from Wells Fargo account ending x7003, in
             the name of C&R Pharmacy, L.L.C.;
       4.    $25,595.71, more or less, from JPMorgan Chase check ending 2682,
             payable to C&R Pharmacy; and
       5.    $175,773.13, more or less, from Bank of America account ending 7563,
             payable to C&R Pharmacy.

       The following bank and financial accounts associated with RUAN:

       1.    $167,703.32, more or less, seized from State Bank & Trust (hereinafter
             “SB&T) account ending in x5553, in the name of XLR Exotic Autos,
             L.L.C.;
       2.    $18,791.63, more or less, seized from SB&T account ending in x5264, in
             the name of Ruan Companies, LLC;
       3.    $3,274.61, more or less, seized from SB&T account ending
             in x6197 in the name of Xiulu Ruan;
       4.    $10,661.87, more or less, seized from Wells Fargo account
             ending in x1921, in the name of XLR Properties, L.L.C.;
       5.    $49,777.85, more or less, seized from Wells Fargo account ending in
             x1212, in the name of Physicians Weight Loss and Wellness, L.L.C.;
       6.    $40,939.83, more or less, seized from Community Bank
             account ending in x9013, in the name of Xiulu Ruan;
       7.    $141,971.78, more or less, seized from Capital One Sharebuilder
             Investment Account ending in x6197-01 in Ruan’s name;
       8.    $5,000, more or less, from College Counts 529 Fund,
             accounts ending in x3712
       10.   $5,000, more or less, from College Counts 529 Fund,
             accounts ending in x3713.

       The following vehicles associated with RUAN:
       1.    Aston Martin DB9 Volante, VIN #SCFAB02AX6GB04617;
       2.    Audi R8 Spyder, VIN #WUATNAFG2BN002379;
       3.    2007 Bentley Continental GT, VIN #SCBDR33W47C048251;
       4.    1987 BMW M6, VIN #WBAEE1400H2560721;
       5.    Ferrari F430 Convertible, VIN #ZFFEW59A070156841;
       6.    Ferrari 599 GTB, VIN #ZFFFC60A270150619;
       7.    1994 Lamborghini Diablo, VIN #ZA9DU07P2RLA12227;
       8.    2008 Lamborghini, VIN #ZHWBU47M78LA02880;
       9.    2005 Mercedes SLR, VIN #WDDAJ76E45M000070;
       10.   2011 Mercedes Model SLS AMG, VIN #WDDRJ7HA2BA002474;
       11.   2013 Mercedes SLS AMG GT, VIN #WDDRK7JA0DA010048;

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       12.    Shelby Series 1, VIN #5CXSA1816XL000159;
       13.    Spyker C8 Laviolette, VIN #XL9BA11G69Z363202;
       14.    2005 Bently Armage, VIN #SCBLC43FX5CX10639;
       15.    2005 Bentley Continental GT, VIN #SCBCR63W65C024205;
       16.    2006 Saleen S7, VIN #1S9SB18126S000074;
       17.    2007 Porsche 911 GT3, VIN #WP0AC29997S792687;
       18.    2005 Porsche 9TC, VIN #WP0CB29965S675240.

       The following real property associated with RUAN:
       1.     2800 Churchbell Ct. Mobile, Alabama;
       2.     His interest in 1323 Leroy Stevens Road, Mobile, Alabama, 36695
              (Mobile County), (Parcel number R022707253000005.002), and which is
              more particularly described as: Lot 2 Byrum Family Division Map
              Book 129 Page 35.

       WHEREAS, the defendant RUAN also agreed to the entry of a Money

 Judgment as follows:

       Judgment in favor of the United States of America for a sum of money of at
       least $5,000,000, the agreed upon value of the remaining property
       constituting, or derived from, any and all proceeds the defendant obtained,
       directly or indirectly, as a result of the violations alleged in the counts of
       conviction, as identified above.

       WHEREAS, pursuant to Fed. R. Crim. P. 32.2(b)(2), this Court determines,

 based on the evidence set forth during the defendant=s trial and pursuant to his

 consent to forfeiture, the assets are subject to forfeiture and entry of judgment in

 favor of the United States for $5,000,000 is appropriate;

     NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
 DECREED:

       That the following property is declared forfeited to the United States,

 pursuant to the code sections alleged in the Notice of Forfeiture contained in the

 Second Superseding Indictment:

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             ending in x6971, in the name of PPSA;
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             x1719, in the name of C&R, L.L.C.;
       3.    $900,712.98, more or less, from Wells Fargo account ending x7003, in
             the name of C&R Pharmacy, L.L.C.;
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             payable to C&R Pharmacy; and
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             payable to C&R Pharmacy.

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             L.L.C.;
       2.    $18,791.63, more or less, seized from SB&T account ending in x5264, in
             the name of Ruan Companies, LLC;
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             in x6197 in the name of Xiulu Ruan;
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             ending in x1921, in the name of XLR Properties, L.L.C.;
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             x1212, in the name of Physicians Weight Loss and Wellness, L.L.C.;
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       3.    2007 Bentley Continental GT, VIN #SCBDR33W47C048251;
       4.    1987 BMW M6, VIN #WBAEE1400H2560721;
       5.    Ferrari F430 Convertible, VIN #ZFFEW59A070156841;


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       6.     Ferrari 599 GTB, VIN #ZFFFC60A270150619;
       7.     1994 Lamborghini Diablo, VIN #ZA9DU07P2RLA12227;
       8.     2008 Lamborghini, VIN #ZHWBU47M78LA02880;
       9.     2005 Mercedes SLR, VIN #WDDAJ76E45M000070;
       10.    2011 Mercedes Model SLS AMG, VIN #WDDRJ7HA2BA002474;
       11.    2013 Mercedes SLS AMG GT, VIN #WDDRK7JA0DA010048;
       12.    Shelby Series 1, VIN #5CXSA1816XL000159;
       13.    Spyker C8 Laviolette, VIN #XL9BA11G69Z363202;
       14.    2005 Bently Armage, VIN #SCBLC43FX5CX10639;
       15.    2005 Bentley Continental GT, VIN #SCBCR63W65C024205;
       16.    2006 Saleen S7, VIN #1S9SB18126S000074;
       17.    2007 Porsche 911 GT3, VIN #WP0AC29997S792687;
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       1.     2800 Churchbell Ct. Mobile, Alabama;
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              (Mobile County), (Parcel number R022707253000005.002), and which is
              more particularly described as: Lot 2 Byrum Family Division Map
              Book 129 Page 35.

              Money Judgment:

              Judgment in favor of the United States of America for a sum of
              money of at least $5,000,000, the agreed upon value of the
              remaining property constituting, or derived from, any and all
              proceeds the defendant obtained, directly or indirectly, as a
              result of the violations alleged in the counts of conviction, as
              identified above.


       The Court shall retain jurisdiction to enforce this Order, and to amend it as

 necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       That pursuant to Fed. R. Crim. P. Rule 32.2(b)(4), this Order of Forfeiture shall

 become final as to the defendant RUAN at the time of sentencing, and shall be made part

 of the sentence and included in the judgment. If no third party files a timely claim, this



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 Order shall become the Final Order of Forfeiture, as provided by Fed. R. Crim. P.

 32.2(c)(2).

        Upon entry of this Order, the United States is authorized to commence any

 applicable proceeding to comply with statutes governing third party rights, including

 giving notice of this Order. No such notice or ancillary proceeding is necessary to the

 extent that this Order consists solely as a judgment for a sum of money. Fed. R. Crim. P.

 32.2(c)(1).

       The United States may, at any time, move pursuant to Fed. R. Crim. P. 32.2(e) to

 amend this Order of Forfeiture to include substitute property having a value not to exceed

 $5,000,000 to satisfy the money judgment, in whole or in part.

        In accordance with 21 U.S.C. § 853(m) and Fed. R. Crim. P. 32.2(b)(2), the United

 States is authorized to undertake whatever discovery may be necessary to identify, locate

 or dispose of substitute assets to satisfy the money judgment.

        The Clerk of the Court shall forward fifteen certified copies of this Order to

 Assistant United States Attorney Deborah A. Griffin, U.S. Attorney’s Office, 63 S. Royal

 St., Rm. 600, Mobile, AL 36602.

        DONE and ORDERED this 2nd day of March, 2017.

                                   /s/ Callie V. S. Granade
                                   SENIOR UNITED STATES DISTRICT JUDGE




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